Case 16-34436-sgj11 Doc 100 Filed 01/20/17                       Entered 01/20/17 11:21:01               Page 1 of 5



     Marcus A. Helt (TX 24052187)
     Thomas C. Scannell (TX 24070559)
     Matthew J. Pyeatt (TX 24086609)
     GARDERE WYNNE SEWELL LLP
     2021 McKinney Avenue, Suite 1600
     Dallas, TX 75201
     Telephone: (214) 999-3000
     Facsimile: (214) 999-4667
     mhelt@gardere.com
     tscannell@gardere.com
     mpyeatt@gardere.com

     PROPOSED COUNSEL TO THE
     DEBTOR AND DEBTOR-IN-POSSESSION

                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

     In re:                                                  §   Chapter 11
                                                             §
     ASCENT GROUP, LLC                                       §   Case No.: 16-34436
                                                             §
          d/b/a Physicians ER Oak Lawn                       §
                                                             §
                         Debtor.

         NOTICE OF CURE AMOUNTS RELATED TO UNEXPIRED LEASES AND
              EXECUTORY CONTRACTS AND DEADLINE TO RESPOND

         PLEASE TAKE NOTICE that, on December 9, 2016, the Debtor1 filed its Emergency
Motion for Order (i) Approving Bid Procedures Relating to Sale of Substantially All of the
Estate’s Assets; (ii) Approving Procedure for Granting Bid Protections; (iii) Scheduling
Objection Deadlines, Auction, and Hearing to Approve the Sale; (iv) Approving the Form and
Manner of Notices; (v) Establishing Procedures Relating to Assumption and Assignment of
Certain Contracts, Including Notice of Proposed Cure Amounts; and (vi) Granting Related
Relief [Docket No 63] (the “Bid Procedures Motion”) in the United States Bankruptcy Court
for the Northern District of Texas, Dallas Division (the “Bankruptcy Court”). On January 18,
2017, the Bankruptcy Court entered its Order (i) Approving Bid Procedures Relating to Sale of
Substantially All of the Estate’s Assets; (ii) Approving Procedure for Granting Bid Protections;
(iii) Scheduling Objection Deadlines, Auction, and Hearing to Approve the Sale; (iv) Approving
the Form and Manner of Notices; (v) Establishing Procedures Relating to Assumption and
Assignment of Certain Contracts, Including Notice of Proposed Cure Amounts; and (vi)

1
  The debtor in this chapter 11 case (the “Debtor”) and the last four digits of its federal tax identification number are
as follows: Ascent Group, LLC (0580). The Debtor’s principal place of business is located at 3607 Oak Lawn Ave.,
Suite 100, Dallas, Texas 75219.

NOTICE OF CURE AMOUNTS RELATED TO UNEXPIRED LEASES AND EXECUTORY CONTRACTS AND DEADLINE TO
RESPOND
                                                                                    PAGE 1
Gardere01 - 9942440v.1
Case 16-34436-sgj11 Doc 100 Filed 01/20/17                       Entered 01/20/17 11:21:01               Page 2 of 5



Granting Related Relief (the “Bid Procedures Order”) [Docket No. 96], approving the Bid
Procedures Motion.2

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Bid Procedures Order, the
Debtor is required to identify those executory contracts and unexpired leases it may assume and
assign in connection with the proposed sale of the Debtor’s assets, which contracts and leases
were defined as the “Designated Contracts.”3 Pursuant to the Bid Procedures Motion, the Debtor
hereby files its calculation of the Cure Costs that must be paid to cure all existing defaults under
the Designated Contracts, attached hereto as Exhibit A. If no monetary amount is listed for a
Designated Contract, the Debtor believes that there is no Cure Cost owed with respect to that
Designated Contract.

       PLEASE TAKE FURTHER NOTICE that, any party who desires to file an objection
to the Cure Costs set forth herein must strictly adhere to the procedures outlined in the Bid
Procedures Order.

        PLEASE TAKE FURTHER NOTICE that unless the non-debtor party to a Designated
Contract files an objection (the “Cure Amount Objection”) to its scheduled Cure Cost with the
Clerk of the Bankruptcy Court no later than February 6, 2017, and serves same upon Marcus A.
Helt, Thomas C. Scannell, and Matthew J. Pyeatt, counsel for the Debtor, Gardere Wynne Sewell
LLP, 2021 McKinney Ave., Dallas, Texas 75201 by such date, such non-debtor party shall (i) be
forever barred from objecting to the Cure Cost and from asserting any additional cure or other
amounts with respect to such unexpired lease, license agreement, or executory contract and the
Debtor shall be entitled to rely solely on the Cure Cost; and (ii) be forever barred and estopped
from asserting or claiming against the Debtor, its Estate, the buyer, or any other assignee of the
relevant unexpired lease, or executory contract that any additional amounts are due or defaults
exist, and from asserting any other objection to the assignment and/or assumption of such
unexpired lease, license agreement or executory contract.

        PLEASE TAKE FURTHER NOTICE that if a Cure Amount Objection is timely filed,
the Cure Amount Objection must set forth (i) the basis for the objection; and (ii) the amount the
party asserts as the Cure Cost. After receipt of the Cure Amount Objection, the Debtor will
attempt to reconcile any differences in the Cure Cost believed by the non-debtor party to exist. If
the Debtor and the non-debtor party cannot consensually resolve the Cure Amount Objection
then such Cure Amount Objection shall be adjudicated as part of the Sale Hearing or an amount
sufficient to pay disputed cure amounts will be segregated by the Debtor pending resolution of
such cure disputes.

       PLEASE TAKE FURTHER NOTICE that the Debtor has taken all reasonable efforts
to ensure the accuracy of the Designated Contracts and the Cure Costs set forth in Exhibit A
hereto. However, inadvertent errors, omissions or over-inclusion may have occurred.
Accordingly, the Debtor reserves all rights to amend, alter, supplement, revise, update and/or

2
    Capitalized terms not otherwise defined herein have the definitions ascribed in the Bid Procedures Order.
3
    The Debtor reserves the right to amend the list of Designated Contracts and any Cure Costs listed.

NOTICE OF CURE AMOUNTS RELATED TO UNEXPIRED LEASES AND EXECUTORY CONTRACTS AND DEADLINE TO
RESPOND
                                                                                    PAGE 2
Gardere01 - 9942440v.1
Case 16-34436-sgj11 Doc 100 Filed 01/20/17         Entered 01/20/17 11:21:01       Page 3 of 5



otherwise dispute the validity, status, nature, characterization or enforceability of any of the
Designated Contracts set forth in Exhibit A hereto. It is possible that some of the Designated
Contracts set forth in Exhibit A hereto have expired or otherwise terminated pursuant to their
terms since the bankruptcy petition date. The presence or omission of the Designated Contracts
set forth in Exhibit A hereto does not constitute an admission by the Debtor or a legal
conclusion that such contracts are executory or such leases are unexpired.

       PLEASE TAKE FURTHER NOTICE that copies of pleadings related to the Sale are
available on the Bankruptcy Court’s website at https://ecf.txnb.uscourts.gov/. You can request
any pleading you need from counsel for the Debtor at: Gardere Wynne Sewell LLP, c/o
Matthew J. Pyeatt, 2021 McKinney Avenue, Suite 1600, Dallas, Texas 75201
(mjpyeatt@gardere.com).


DATED: January 20, 2017                     Respectfully submitted by:

                                            /s/ Marcus A. Helt
                                            Marcus A. Helt (TX 24052187)
                                            Thomas C. Scannell (TX 24070559)
                                            Matthew J. Pyeatt (TX 24086609)
                                            GARDERE WYNNE SEWELL LLP
                                            2021 McKinney Avenue, Suite 1600
                                            Dallas, TX 75201
                                            Telephone: (214) 999-3000
                                            Facsimile: (214) 999-4667
                                            mhelt@gardere.com
                                            mmoore@gardere.com
                                            tscannell@gardere.com

                                            PROPOSED COUNSEL TO THE DEBTOR
                                            AND DEBTOR-IN-POSSESSION


                               CERTIFICATE OF SERVICE

      I hereby certify that, on January 20, 2017, a true and correct copy of the foregoing
document was served electronically by the Court’s PACER system.

                                                   /s/ Matthew J. Pyeatt
                                                   Matthew J. Pyeatt




NOTICE OF CURE AMOUNTS RELATED TO UNEXPIRED LEASES AND EXECUTORY CONTRACTS AND DEADLINE TO
RESPOND
                                                                                    PAGE 3
Gardere01 - 9942440v.1
Case 16-34436-sgj11 Doc 100 Filed 01/20/17   Entered 01/20/17 11:21:01   Page 4 of 5




                               Exhibit A




Gardere01 - 9942440v.1
              Case 16-34436-sgj11 Doc 100 Filed 01/20/17          Entered 01/20/17 11:21:01         Page 5 of 5



      Counterparty to Contract/Lease                                    Counterparty Address                          Cure Amount

 1.   360 Medical Billing Solutions             2000 N. Classen Blvd., Suite 1300, Oklahoma City, OK 73106
 2.   Admiral Linen & Uniform Service           1340 E Berry St, Fort Worth, TX 75219                             $        1,060.67
 3.   ASAP Laboratories                         5701 4th Street, PO Box 928, Katy, TX 77493                       $        8,250.00
 4.   Asset Management Associates, LLC          745 Fort St., Suite 1410, Honolulu, HI 96813                      $             -
 5.   C&C Clinical Laboratory Consulting, LLC   1810 Eastfork Ln, Wylie, TX 75098                                 $        1,159.00
 6.   Cigna Healthcare                          PO Box 3050, Easton, PA 18043-3050                                $             -
 7.   City Ambulance Service                    PO Box 740371, Houston, TX 77274                                  $             -
 8.   Crain Group, LLC                          3801 Knapp Rd., Pearland, TX 77581                                $        8,100.00
 9.   Dahill/Xerox                              PO Box 205354, Dallas, TX 75320                                   $          652.45
10.   EPowerDoc                                 PO Box 241642, Omaha, NE 68124                                    $        1,708.34
11.   Excel Medical Waste Disposal              PO Box 690047, Houston, TX 77269-0047                             $          287.46
12.   Jan-Pro of DFW                            4545 Fuller Drive, Ste 406, Irving, TX 75038                      $        1,753.65
13.   LabCorp of America Holdings               PO Box 12140, Burlington, NC 27216-2140                           $        7,359.32
14.   Logix Communications                      PO Box 3608, Houston, TX 77253-3608                               $        1,271.82
15.   N.D. Consultants                          578 Surf Oaks Drive, Sebrook, TX 77586                            $        1,230.00
16.   Neighborhood Networks of Publishing       PO Box 602906, Charlotte, NC 28260                                $          525.00
17.   Outfront Media                            11233 N. Stemmons Fwy, Dallas, TX 75229                           $       24,970.00
18.   Presidio Health                           2591 Dallas Parkway, Suite 200, Frisco, TX 75034                  $             -
19.   Shred Pro                                 PO Box 690166, Houston, TX 77269-0166                             $             -
20.   SWBC Professional                         30815 US Highway 281 N, Bulverde, TX 78136                        $             -
21.   Terminix                                  PO Box 742592, Cincinnati, OH 45274-2592                          $           75.78
22.   The Hartford                              PO Box 660916, Dallas, TX 75266-0916                              $             -
23.   Time Warner Cable                         3301 W. Royal Lane, Irving, TX 75063                              $          196.79
24.   Transaction Express                       1393 Veterans Memorial Highway, Suite 307S, Hauppauge, NY 11178   $             -
25.   TXU Energy                                PO Box 650764, Dallas, TX 75265-0764                              $        2,677.85
26.   UHC                                       PO Box 30555, Salt Lake City, UT 84130-0555                       $             -
27.   UHG Recovery Sevices                      PO Box 101760, Atlanta, GA 30392-1760                             $             -
28.   Ultimate Biomedical Solutions             6315-B FM 1488 #138, Magnolia, TX 77354                           $        5,547.45
29.   Waste Management                          PO Box 9001054, Louisville, KY 40290-1054                         $           37.86
30.   Welcome Wagon                             5830 Coral Ridge Drive, Suite 240, Coral Springs, FL 33076        $          304.80

                                                                                                                  $       67,168.24
